                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE



 FRANCISCO ARIZNENDI-LUGO,

              Petitioner,

 v.                                                      3:06-cv-206
                                                         3:03-cr-101


 UNITED STATES OF AMERICA,

              Respondent.



                               MEMORANDUM OPINION



       This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255.

 The Clerk is DIRECTED to serve a copy of the motion and this Memorandum Opinion and

 accompanying Judgment Order on the United States Attorney. However, for the reasons

 stated below, the United States Attorney shall not be required to file an answer or other

 pleading to the motion, and the motion will be DENIED.

       The petitioner pleaded guilty to conspiracy to distribute and possess with intent to

 distribute controlled substances, in violation of 21 U.S.C. §§ 846 and 841(a)(1) and

 (b)(1)(B), and to money laundering, in violation of 18 U.S.C. § 1956(a)(1)(A)(i). He was

 sentenced to concurrent terms of imprisonment of 87 months, respectively. Petitioner's




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 sentence was based upon a two-level increase in his base offense level as a result of his

 conviction under 18 U.S.C. § 1956. See U.S.S.G. § 2S1.1(b)(2)(B). He now claims this two-

 level enhancement by the court without a jury's determination violated his right to be found

 guilty by a jury beyond a reasonable doubt. Petitioner refers to United States v. Booker, 543

 U.S. 220 (2005), in support of this claim. He also makes passing reference to Apprendi v.

 New Jersey, 530 U.S. 466 (2000).

        The flaw in petitioner's reasoning is the fact that he pleaded guilty to money

 laundering. Therefore, he waived his right to have his guilt determined by a jury beyond a

 reasonable doubt. In addition, with respect to petitioner's Apprendi claim, his sentence of 87

 months was less than the prescribed statutory maximum 40 years set forth in 21 U.S.C. §

 841(b)(1)(B), the penalty section to which petitioner pleaded guilty. Therefore, Apprendi

 does not afford petitioner any relief.

        It plainly appears from the face of the motion, the annexed exhibits and the prior

 proceedings in the case that the petitioner is not entitled to relief in this court and this action

 should be summarily dismissed; an evidentiary hearing is not required. Rule 4 of the Rules

 Governing Section 2255 Proceedings For The United States District Courts; Baker v. United

 States, 781 F.2d 85, 92 (6th Cir. 1986); Bryan v. United States, 721 F.2d 572, 577 (6th Cir.

 1983). Accordingly, the motion to vacate, set aside or correct sentence will be DENIED and

 this action DISMISSED.

        In addition to the above, this court has carefully reviewed this case pursuant to 28

 U.S.C. § 1915(a) and hereby CERTIFIES that any appeal from this action would not be

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 taken in good faith and would be totally frivolous. Therefore, this court will DENY the

 petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules

 of Appellate Procedure. The petitioner having failed to make a substantial showing of the

 denial of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28

 U.S.C. § 2253.


       AN APPROPRIATE ORDER WILL ENTER.


                                                        s/ James H. Jarvis
                                                     United States District Judge




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